   Case:Case
         17-1944
             2:12-cv-04556-CMR
                   Document: 003113049813
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                                                             Page 10/02/2018
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                      UNITED STATES COURT OF APPEALS
                           FOR THE THIRD CIRCUIT
                              ________________

                                Nos. 17-1944 & 17-2024
                                  ________________

                                    ADRIAN LUPU

                                           v.

                LOAN CITY, LLC; OCWEN LOAN SERVICING, LLC

                          OCWEN LOAN SERVICING, LLC,
                                        Third-Party Plaintiff

                                           v.

                    STEWART TITLE GUARANTY COMPANY,
                                      Third-Party Defendant

                                  Stewart Title Guaranty Company
                                                Appellant (17-1944)

                                  Ocwen Loan Servicing, LLC,
                                             Appellant (17-2024)
                                  ________________

                      Appeal from the United States District Court
                        for the Eastern District of Pennsylvania
                        (D.C. Civil Action No. 2-12-cv-04556)
                      District Judge: Honorable Cynthia M. Rufe
                                  ________________

                                 Argued April 24, 2018

              Before: MCKEE, AMBRO, and RESTREPO, Circuit Judges

                                     JUDGMENT

      These causes came on to be heard on the record before the United States District

Court for the Eastern District of Pennsylvania and was argued on April 24, 2018.
   Case:Case
         17-1944
             2:12-cv-04556-CMR
                   Document: 003113049813
                                Document 93 Page:
                                             Filed 210/02/18
                                                        Date Filed:
                                                             Page 10/02/2018
                                                                    2 of 2



         On consideration whereof, IT IS ORDERED AND ADJUDGED by this Court that

the Order of the District Court entered March 28, 2017, is hereby affirmed in part,

reversed in part, and remanded. Costs taxed against Ocwen Loan Servicing, LLC. All of

the above in accordance with the opinion of this Court.



                                                                ATTEST:


                                                                s/ Patricia S. Dodszuweit
                                                                Clerk

Dated:         September 10, 2018




Costs added hereto in favor of Appellant-Cross-Appellee Stewart Title Guaranty
Company as follows:



               Docketing Fee…………...................$505.00
              Appendix...........................................$893.20
              Brief...................................................$ 82.00
              Reply Brief………………………....$ 89.00
              Covers………………………………$ 40.00
                                                                     ------------
              Total..................................................$1609.20




                    Certified as a true copy and issued in lieu
                    of a formal mandate on 10/02/2018


                  Teste:
                  Clerk, U.S. Court of Appeals for the Third Circuit

                                                          2
